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                          UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                           www.flsb.uscourts.gov
                                               CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                            Original Plan
                        ■   Second                                Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                  Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Daniel Hernandez                               JOINT DEBTOR:                                           CASE NO.: 24-13622-RAM
SS#: xxx-xx- 6893                                         SS#: xxx-xx-
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                               modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                               Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                               the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                               on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                      Included       ■    Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                      Included       ■    Not included
  out in Section III
  Nonstandard provisions, set out in Section IX                                                                       Included       ■    Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A.     MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                  fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                  amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $6,200.00            for months   1    to 3      ;

                   2.   $6,523.00            for months   4    to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                  NONE     PRO BONO
        Total Fees:             $5,200.00           Total Paid:                $2,125.00          Balance Due:           $3,075.00
        Payable             $711.96          /month (Months 1      to 3 )
        Payable             $469.56          /month (Months 4      to 5 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $5,000.00 case, $200.00 costs

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS                           NONE
            A. SECURED CLAIMS:                  NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: JP Morgan Mortgage Acquisition Corp.
              Address: c/oRushmore Servicing              Arrearage/ Payoff on Petition Date      $60,526.80
                       PO Box 619096
                                                          Arrears Payment (Cure)                          $200.00        /month (Months   1   to 3   )
                       Dallas, TX 75261-9741
                                                          Arrears Payment (Cure)                          $733.10        /month (Months   4   to 5   )
         Last 4 Digits of
         Account No.:                 4636                Arrears Payment (Cure)                          $1,062.92      /month (Months   6   to 60 )

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                                                                          Debtor(s): Daniel Hernandez                            Case number: 24-13622-RAM
                                                              Regular Payment (Maintain)                       $4,668.04      /month (Months   1      to 60 )

        Other:

         ■ Real Property                                                            Check one below for Real Property:
                  ■ Principal Residence                                                    Escrow is included in the regular payments
                    Other Real Property                                                    The debtor(s) will pay     taxes       insurance directly
         Address of Collateral:
         7827 NW 166th Terr., Hialeah, FL 33016

             Personal Property/Vehicle
         Description of Collateral:
            B. VALUATION OF COLLATERAL:                        ■     NONE
            C. LIEN AVOIDANCE               ■    NONE
            D. SURRENDER OF COLLATERAL:                          ■    NONE
            E. DIRECT PAYMENTS                   ■   NONE
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                    ■ NONE

V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                               NONE
                 A. Pay         $139.74         /month (Months       6   to 60 )
                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.         If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                  ■    NONE
VI.         STUDENT LOAN PROGRAM                     ■   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                          NONE
      Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                 ■ Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
                    terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
                    herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

                  Name of Creditor               Collateral                                         Acct. No. (Last 4 Digits) Assume/Reject
                  Ford Motor Credit Company, LLC 2022 Ford Explorer                                 8157
            1.                                                                                                                 ■ Assume            Reject
VIII.       INCOME TAX RETURNS AND REFUNDS:
                    ■   Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.         NON-STANDARD PLAN PROVISIONS                       ■     NONE




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                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                        Debtor                                                           Joint Debtor
  Daniel Hernandez                                        Date                                                                  Date



  /s/ Jordan E. Bublick, Esq.                July 27, 2024
                                                        Date
    Attorney with permission to sign on
    Debtor(s)' behalf who certifies that
     the contents of the plan have been
       reviewed and approved by the
                Debtor(s).1

   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph IX.




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1This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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